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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                                  CASE NO.: 21-cv-20047-CMA

 WINDY LUCIUS,

        Plaintiff,

 v.

 STELLA MCCARTNEY AMERICA, INC.,

        Defendant.
                                                      /

                                  NOTICE OF SETTLEMENT

        Plaintiff WINDY LUCIUS (“Plaintiff”) respectfully submits this Notice of Settlement, and

 informs the Court as follows:

        1.      Plaintiff has reached an agreement with Defendant STELLA MCCARTNEY

 AMERICA, INC. (“Defendant”) to resolve the claims against it.

        2.      The parties are in the process of finalizing a confidential settlement agreement and

 will be filing a settlement documents with the Court within sixty (60) days.

                                              Respectfully submitted,
                                              /s/ J. Courtney Cunningham
                                              J. Courtney Cunningham, Esq.
                                              J. COURTNEY CUNNINGHAM, PLLC
                                              FBN: 628166
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                                              Miami, FL 33156
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on January 19, 2021, I electronically filed the foregoing

 document with the Clerk of the Court using the CM/ECF system.

                                           /s/ J. Courtney Cunningham
                                           J. Courtney Cunningham, Esq.




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